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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION


                                                          Action No: 5:21cv16
   Consumer Financial Protection Bureau et al             Date: 5/28/2024
   vs.                                                    Judge: Elizabeth K. Dillon
                                                          Court Reporter: S. Bragg
   Nexus Services, Inc. et al
                                                          Deputy Clerk: K. Anglim



   Plaintiff Attorney(s)                          Defendant Attorney(s)
   Lee Sherman, CFPB                              Amina Matheny-Williard
   Stephanie Garlock, CFPB                        Zachary Lawrence
   Leanne Hartman, CFPB
   Hai Bihn Nguyen, CFPB
   James Scott, Commonwealth of Virginia
   Jon Burke, Commonwealth of Massachusetts
   Franklin Romeo, The People of the State of
   New York



  PROCEEDINGS:
  Parties present by counsel via zoom for oral argument on Defendants’ Motion to Stay
  Temporarily Pending Appeal (dkt. 249)
  Argument, Objections, Rebuttal as reflected in the record.
  Judge to take argument under advisement and rule in near future.



  Time in Court: 12:00 – 12:39p; 39m
